Case 1:23-cv-00108-LMB-JFA Document 1132-8 Filed 08/06/24 Page 1 of 5 PageID# 82788




                            Exhibit H
     (previously filed as Dkt. 660-8)
Case 1:23-cv-00108-LMB-JFA Document 1132-8 Filed 08/06/24 Page 2 of 5 PageID# 82789
Case 1:23-cv-00108-LMB-JFA Document 1132-8 Filed 08/06/24 Page 3 of 5 PageID# 82790
Case 1:23-cv-00108-LMB-JFA Document 1132-8 Filed 08/06/24 Page 4 of 5 PageID# 82791
Case 1:23-cv-00108-LMB-JFA Document 1132-8 Filed 08/06/24 Page 5 of 5 PageID# 82792
